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 DEFENDANT 9:       ARCHIE POOLE

 YOB:               1976

 ADDRESS:           Denver County, Colorado

 COMPLAINT FILED?             YES           NO

        IF YES, PROVIDE MAGISTRATE CASE NUMBER:

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                           YES             NO

 OFFENSE:    COUNT ONE – Title 21, United States Code, Sections 841(a)(1),
             841(b)(1)(B)(ii)(II), 841(b)(1)(B)(iii), 841(b)(1)(C), and 846: On or about and
             between June 1, 2013, and June 4, 2014, both dates being approximate and
             inclusive, did knowingly and intentionally conspire to distribute and possess with
             the intent to distribute, one or more of the following controlled substances: (1)
             more than 500 grams but less than 5 kilograms of a mixture or substance
             containing a detectable amount of cocaine, a Schedule II Controlled Substance;
             (2) more than 28 grams but less than 280 grams of a mixture or substance which
             contains cocaine base; (3) less than 100 grams of a mixture or substance
             containing a detectable amount of heroin, a Schedule I Controlled Substance; (4)
             less than 50 grams of a mixture or substance containing a detectable amount of
             methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
             Controlled Substance.

             COUNT TWENTY-FOUR: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about December
             31, 2013, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 50 grams of a mixture or substance containing a detectable
             amount of methamphetamine, a Schedule II Controlled Substance, and did
             knowingly and intentionally aid, abet, counsel, command, induce or procure the
             same.

             COUNTS TWENTY-FIVE AND FORTY: Title 21, United States Code, Sections
             843(b) and 843(d) – did knowingly or intentionally use a communications device,
             specifically a telephone, in committing, or in causing or facilitating the
             commission of, a felony delineated in Title 21 of the United States Code.
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                 COUNT THIRTY-NINE: Title 21, United States Code, Sections 841(a)(1) and
                 841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about January 9,
                 2014, did knowingly and intentionally distribute and possess with the intent to
                 distribute less than 50 grams of a mixture or substance containing a detectable
                 amount of methamphetamine, a Schedule II Controlled Substance, and did
                 knowingly and intentionally aid, abet, counsel, command, induce or procure the
                 same.

                 Notice of Forfeiture

 LOCATION OF OFFENSE:                 Arapahoe County, Colorado
 (COUNTY/CITY/STATE)

 PENALTY:        COUNT ONE: NLT 5 years and NMT 20 years imprisonment, $5 million fine, or
                 both; NLT 4 years supervised release, $100 Special Assessment Fee.

                 COUNT TWENTY-FOUR: NMT 20 years imprisonment, $1 million fine, or
                 both; NLT 3 years supervised release, $100 Special Assessment Fee.

                 COUNTS TWENTY-FIVE AND FORTY: NMT 4 years imprisonment,
                 $250,000.00 fine, or both; NMT 1 year supervised release; and a $100 Special
                 Assessment Fee (per count).

                 COUNT THIRTY-NINE: NMT 20 years imprisonment, $1 million fine, or both;
                 NLT 3 years supervised release, $100 Special Assessment Fee.

 AGENT:          Special Agent Sara Aerts
                 Federal Bureau of Investigation

 AUTHORIZED BY:             ZACHARY PHILLIPS
                            Assistant U.S. Attorney



 ESTIMATED TIME OF TRIAL:

        five days or less                over five days             other

 THE GOVERNMENT

         will seek detention in this case                will not seek detention in this case

 The statutory presumption of detention is applicable to this defendant.

 OCDETF CASE:                         Yes WC CO 636                No

                                                      2
